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                   EXHIBIT 2

 REDACTED VERSION OF
DOCUMENT FILED UNDER
        SEAL
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12   OTTO TRUCKING LLC

13
                                 UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN FRANCISCO DIVISION
16

17
     Waymo LLC,                                     Case No.: 3:17-cv-00939-WHA
18
                   Plaintiff,                       DEFENDANT OTTO TRUCKING LLC’S
19                                                  OBJECTIONS AND RESPONSES TO
            v.                                      PLAINTIFF WAYMO LLC’S FIRST SET
20                                                  OF EXPEDITED INTERROGATORIES
     Uber Technologies, Inc.; Ottomotto LLC; Otto
21   Trucking LLC,

22                 Defendants.

23

24   PROPOUNDING PARTY: Plaintiff, WAYMO LLC

25   RESPONDING PARTY: Defendant, OTTO TRUCKING LLC

26   SET NO. : One

27

28
                                       1
     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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 1          Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendant Otto Trucking LLC

 2   (“Otto Trucking”) hereby provides objections and responses (“Responses”) to Plaintiff Waymo

 3   LLC’s (“Waymo”) First Set of Expedited Interrogatories to Otto Trucking (the “Interrogatories”).

 4                                    PRELIMINARY STATEMENT

 5          Otto Trucking states that it is responding to the Interrogatories to the best of its present

 6   ability. While these Responses are based upon appropriate investigation by Otto Trucking and its

 7   counsel, they reflect the current state of Otto Trucking’s knowledge respecting the matters about

 8   which inquiry is made. Thus, the information contained herein remains subject to further review,

 9   and, in making these Responses, Otto Trucking reserves the right to amend, supplement, and/or

10   otherwise change its Responses to these Interrogatories as further investigation and discovery may

11   make appropriate in accordance with Otto Trucking’s obligations under the Federal Rules of Civil

12   Procedure. Furthermore, Otto Trucking has prepared this Response based on its good faith

13   interpretation and understanding of each individual Interrogatory, but Otto Trucking reserves its

14   right to correct any errors or omissions.

15          Otto Trucking does not waive or intend to waive any objections that it may have regarding

16   the use of any information provided, and Otto Trucking expressly reserves the rights to: (a) object

17   to Waymo’s use of any information provided on the ground of inadmissibility; and (b) object on

18   any and all proper grounds, at any time, to any other discovery involving or relating to any

19   information produced. No incidental or implied admissions are intended by the Responses set

20   forth herein. These Responses are made solely for the purpose of this action. Nothing herein shall

21   be construed as an admission respecting the admissibility or the relevance of any facts, documents,

22   or information, as an admission that documents or information exist, or as an admission as to the

23   truth or accuracy of any characterization or assertion contained in any Interrogatory. Each

24   Response is subject to all objections as to competence, relevance, materiality, propriety, and

25   admissibility, and any and all other objections on grounds that would require the exclusion of any

26   statement herein if any of the Interrogatories were asked of, or statements contained herein were

27   made by, a witness present and testifying in court, all of which objections and grounds are

28   reserved and may be interposed at the time of trial.
                                       2
     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
     FIRST SET OF EXPEDITED INTERROGATORIES          CASE NO. 3:17-CV-00939
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 1                                      GENERAL OBJECTIONS

 2          1.      Otto Trucking objects to each and every Interrogatory to the extent it seeks to

 3   impose obligations and demands upon Otto Trucking beyond those required by Federal Rules of

 4   Civil Procedure 26 and 33, the applicable Local Civil Rules of the United States District Court for

 5   the Northern District of California, and any applicable orders of this Court, including the Order

 6   Granting in Part and Denying in Part Plaintiff’s Motion for Provisional Relief.

 7          2.      Otto Trucking objects to each and every Interrogatory to the extent it seeks

 8   information protected from discovery by the attorney-client privilege, the work product doctrine,

 9   the joint defense or common interest privilege, or any other privileges or reasons for non-

10   production. Waymo’s discovery will not be construed to seek such information. Inadvertent

11   disclosure of privileged information is not intended to be, and may not be construed as, a waiver

12   of any applicable privilege or similar basis for non-disclosure.

13          3.      Otto Trucking objects to these Requests to the extent they seek information

14   concerning matters or issues beyond the scope of the allegations in the Amended Complaint on the

15   grounds that such discovery is overbroad, unduly burdensome, and neither relevant to any issue in

16   this case nor reasonably calculated to lead to the discovery of admissible evidence.

17          4.      Otto Trucking objects to each Interrogatory to the extent that it is unlimited in time

18   and scope, especially in light of the expedited nature of the propounded Interrogatories.

19          5.      Otto Trucking reserves all rights under the Rules of Civil Procedure to amend or

20   supplement its responses as additional information is discovered.

21                                       SPECIFIC OBJECTIONS

22   INTERROGATORY NO. 1:

23          IDENTIFY the locations and custody of all known copies of THE DOWNLOADED

24   MATERIALS, or any documents describing THE DOWNLOADED MATERIALS. If any of the

25   copies have [sic] no longer exist, explain DEFENDANTS’ full knowledge as to the destruction.

26   RESPONSE TO INTERROGATORY NO. 1:

27          Otto Trucking incorporates each of its general objections by reference. Otto Trucking

28   further objects to this Interrogatory to the extent that it seeks information regarding documents or
                                       3
     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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 1   materials protected by the attorney client privilege, the attorney work product doctrine, joint

 2   defense or common interest privilege, and/or any other applicable privilege or immunity. Otto

 3   Trucking further objects to this Interrogatory as vague and ambiguous, especially as to the term

 4   “full knowledge.” “DOWNLOADED MATERIALS” is not a defined term in these

 5   Interrogatories. Otto Trucking will interpret this term to have the same meaning as in the Court’s

 6   Order Granting in Part and Denying in Part Plaintiff’s Motion for Provisional Relief.

 7          Subject to and without waiving its foregoing objections, Otto Trucking responds as

 8   follows: Otto Trucking does not have knowledge of the locations of any copies of the

 9   DOWNLOADED MATERIALS or documents describing the DOWNLOADED MATERIALS.

10   INTERROGATORY NO. 2:

11          IDENTIFY all Diligenced Employees and the date(s) they became Diligenced Employees

12   (as that term is used in the OTTOMOTTO MERGER AGREEMENT).

13   RESPONSE TO INTERROGATORY NO. 2:

14          Otto Trucking incorporates each of its general objections by reference. Otto Trucking

15   objects to this Interrogatory as not “reasonably narrow” or relevant to its “trade secret

16   misappropriation claims only” as required by the Court’s Order Granting in Part and Denying in

17   Part Plaintiff’s Motion for Provisional Relief (Dkt. No. 464). Otto Trucking further objects to this

18   Interrogatory to the extent that it seeks information regarding documents or materials protected by

19   the attorney client privilege, the attorney work product doctrine, joint defense or common interest

20   privilege, and/or any other applicable privilege or immunity.

21          Subject to and without waiving its foregoing objections, Otto Trucking responds as

22   follows: The following individuals became Diligenced Employees as of April 11, 2016: Anthony

23   Levandowski, Lior Ron, Don Burnette, Soren Juelsgaard, and Colin Sebern.

24   INTERROGATORY NO. 3:

25          IDENTIFY all Uber Devices and Non-Uber Devices (as those terms are defined in

26   UBER00006444) that LEVANDOWSKI has used to access any of DEFENDANTS’ Networks (as

27   that term is defined in UBER00006444), or that LEVANDOWSKI could have used to access any

28   of DEFENDANTS’ Networks (as that term is defined in UBER00006444).
                                       4
     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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 1   RESPONSE TO INTERROGATORY NO. 3:

 2           Otto Trucking incorporates each of its general objections by reference. Otto Trucking

 3   further objects to this Interrogatory as overbroad and unduly burdensome, in particular in its use of

 4   the term “any” of Otto Trucking’s Networks. Otto Trucking further objects to this Interrogatory

 5   as vague and ambiguous, especially as to the term “access.”

 6           Subject to and without waiving its foregoing objections, Otto Trucking responds as

 7   follows: Otto Trucking does not have its own Network, and so does not have knowledge of any

 8   Uber Devices or Non-Uber Devices that Levandowski has used to access any of Otto Trucking’s

 9   Networks.

10   INTERROGATORY NO. 4:

11           Describe the ownership of TYTO and/or ODIN WAVE, INCLUDING the identity of all

12   PERSONS with current or former ownership interests in TYTO and/or ODIN WAVE, that

13   PERSON’s current or former ownership interest(s), and the agreements creating or modifying

14   those ownership interests.

15   RESPONSE TO INTERROGATORY NO. 4:

16           Otto Trucking incorporates each of its general objections by reference. Otto Trucking

17   objects to this Request as not “reasonably narrow” or relevant to its “trade secret misappropriation

18   claims only” as required by the Court’s Order Granting in Part and Denying in Part Plaintiff’s

19   Motion for Provisional Relief (Dkt. No. 464). Otto Trucking further objects to this Interrogatory

20   to the extent that it calls for a legal conclusion.

21           Subject to and without waiving its foregoing objections, Otto Trucking responds as

22   follows: As it pertains to Otto Trucking, Otto Trucking does not have any information responsive

23   to Interrogatory No. 4.

24   INTERROGATORY NO. 5:

25           Describe all compensation (whether actual or conditional) discussed, conveyed or

26   promised by DEFENDANTS to LEVANDOWSKI at any time, INCLUDING (without limitation)

27   the DEFENDANT who discussed, conveyed or promised the compensation, the nature of the

28   compensation, the date the compensation was promised and/or conveyed, the amount of the
                                       5
     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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 1   compensation, any conditions, contingencies, clawback rights or reservations associated with the

 2   compensation.

 3   RESPONSE TO INTERROGATORY NO. 5:

 4          Otto Trucking incorporates each of its general objections by reference. Otto Trucking

 5   further objects to this Interrogatory to the extent that it seeks any confidential information of a

 6   third party. Otto Trucking further objects to this Interrogatory as overbroad and unduly

 7   burdensome, in particular in its use of the terms “all” and “any.”

 8          Subject to and without waiving its foregoing objections, Otto Trucking responds as

 9   follows: Otto Trucking incorporates by reference the responses to Interrogatory No. 5 by

10   Ottomotto and Uber. Information responsive to this Interrogatory can be found at the document

11   produced at UBER00006435. Mr. Levandowski received compensation in the form of restricted

12   stock awards subject to a Restricted Stock Vesting Summary and Form of Restricted Stock Award

13   Agreement tied to the completion of specific performance benchmarks described at

14   UBER00006451 and UBER00006481.

15          As it pertains to Otto Trucking, information responsive to this Interrogatory can be found

16   at the document produced at OTTOTRUCKING00000004. PENSCO Trust Company LLC

17   Custodian FBO Anthony Levandowski, Roth IRA entered into a Founder Unit Purchase Unit

18   Agreement with Otto Trucking on April 6, 2016 for                                     Mr.

19   Levandowski entered into a Founder Unit Purchase Agreement with Otto Trucking on April 7,

20   2016 for                          Mr. Levandowski entered into a Founder Unit Purchase

21   Agreement with Otto Trucking on August 31, 2016 for 392,800 units at $3,928.00.

22   INTERROGATORY NO. 6:

23          Describe DEFENDANTS’ efforts to preserve evidence relevant to THIS CASE,

24   INCLUDING (without limitation) when DEFENDANTS instituted any litigation hold(s)

25   REGARDING THIS CASE, how DEFENDANTS implemented any litigation hold, all PERSONS

26   who received any litigation hold, when each PERSON received each litigation hold, which

27   PERSON(S) was responsible for monitoring compliance with each litigation hold, and any

28   instances of non-compliance with such litigation hold.
                                       6
     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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 1   RESPONSE TO INTERROGATORY NO. 6:

 2          Otto Trucking incorporates each of its general objections by reference. Otto Trucking

 3   objects to this Request as not “reasonably narrow” or relevant to its “trade secret misappropriation

 4   claims only” as required by the Court’s Order Granting in Part and Denying in Part Plaintiff’s

 5   Motion for Provisional Relief (Dkt. No. 464). Otto Trucking further objects to this Interrogatory

 6   to the extent that it seeks information regarding documents or materials protected by the attorney

 7   client privilege, the attorney work product doctrine, joint defense or common interest privilege,

 8   and/or any other applicable privilege or immunity.

 9          Subject to and without waiving its foregoing objections, Otto Trucking responds as

10   follows: Litigation hold memoranda were sent on March 9, 2017 to Anthony Levandowski, Lior

11   Ron, Brent Schwartz, and Rhian Morgan. Otto Trucking does not possess any of its own servers,

12   computers, electronic or hard-copy document repositories. Any such documents are located and

13   stored on the servers, computers and electronic or hard-copy document repositories of Uber and

14   Ottomotto. As such, any and all litigation holds imposed by Uber and Ottomotto would apply to

15   any Otto Trucking materials. For that reason, Otto Trucking incorporates by reference the

16   responses to this Interrogatory by Ottomotto and Uber.

17   INTERROGATORY NO. 7:

18          For each of DEFENDANTS’ past and present officers, directors, and employees identified

19   in response to the Court’s April 4, 2017 Order (Dkt. 144) as having had LiDAR-related

20   responsibilities or projects, identify all LiDAR-related projects that the PERSON has worked on,

21   INCLUDING (without limitation) any LiDAR-related projects involving third parties.

22   RESPONSE TO INTERROGATORY NO. 7:

23          Otto Trucking incorporates each of its general objections by reference.

24          Subject to and without waiving its foregoing objections, Otto Trucking responds as

25   follows: None of the past and present officers, directors, and employees identified in response to

26   the Court’s April 4, 2017 Order (Dkt. 144) have worked on any LiDAR-related projects in their

27   capacities as past or present officers, directors, or employees of Otto Trucking.

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     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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 1   INTERROGATORY NO. 8:

 2          Describe all consulting work performed by LEVANDOWSKI for UBER before August

 3   18, 2016, INCLUDING the terms of the consulting and any compensation arrangements.

 4   RESPONSE TO INTERROGATORY NO. 8:

 5          Otto Trucking incorporates each of its general objections by reference. Otto Trucking

 6   further objects to this Interrogatory as overbroad and unduly burdensome, in particular in its use of

 7   the term “all.” Otto Trucking further objects to this Interrogatory as vague and ambiguous,

 8   especially as to the term “consulting work.”

 9          Subject to and without waiving its foregoing objections, Otto Trucking responds as

10   follows: As it pertains to Otto Trucking, Otto Trucking does not have any information responsive

11   to Interrogatory No. 8.

12   INTERROGATORY NO. 9:

13          Identify in detail all COMMUNICATIONS between DEFENDANTS and

14   LEVANDOWSKI or anyone acting on his behalf relating to the Court’s May 11, 2017 Order

15   Granting in Part and Denying in Part Waymo’s Motion for a Preliminary Injunction, including

16   LEVANDOWSKI’s May 18, 2017 Motion to Intervene, by identifying for each such

17   COMMUNICATION: its date, its form (i.e. oral or in writing, and if in writing the form of

18   writing), the individuals involved, its substance, and if in writing its production number.

19   RESPONSE TO INTERROGATORY NO. 9:

20          Otto Trucking incorporates each of its general objections by reference. Otto Trucking

21   objects to this Request as not “reasonably narrow” or relevant to its “trade secret misappropriation

22   claims only” as required by the Court’s Order Granting in Part and Denying in Part Plaintiff’s

23   Motion for Provisional Relief (Dkt. No. 464). Otto Trucking further objects to this Interrogatory

24   as not narrowly tailored, in particular in its use of the term “all COMMUNICATIONS.” Otto

25   Trucking further objects to this Interrogatory as vague and ambiguous, especially as to the term

26   “in detail.” Otto Trucking further objects to this Interrogatory to the extent that it seeks

27   information regarding documents or materials protected by the attorney client privilege, the

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     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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 1   attorney work product doctrine, joint defense or common interest privilege, and/or any other

 2   applicable privilege or immunity.

 3          Subject to and without waiving its foregoing objections, Otto Trucking responds as

 4   follows: Counsel for Otto Trucking provided a copy of the redacted version of the Court’s order

 5   Granting in Part and Denying in Part Plaintiff’s Motion for Provisional Relief to Mr. Levandowski

 6   on May 15, 2017. Counsel for Otto Trucking sent a letter by email and Federal Express to Mr.

 7   Levandowski’s counsel of record, Ramsey Ehrlich LLP, on May 30, 2017 regarding the

 8   admonitions in the order and requesting that he return any Downloaded Materials, as described in

 9   the order.

10
     Dated: June 5, 2017                               Respectfully submitted,
11

12                                                     By: /s/ Neel Chatterjee
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     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
     FIRST SET OF EXPEDITED INTERROGATORIES          CASE NO. 3:17-CV-00939
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 1                                    CERTIFICATE OF SERVICE

 2

 3   I, Rachel M. Walsh, declare as follows:

 4   1.      I am of counsel at the law firm of Goodwin Procter, LLP, whose address is Three

 5   Embarcadero Center, San Francisco, CA 94111. I am over the age of eighteen and not a party to

 6   this action.

 7   2.      On June 5, 2017, I caused the following document to be served on all counsel of record via

 8   electronic mail: Defendant Otto Trucking LLC’s Objections and Responses to Plaintiff Waymo

 9   LLC’s First Set of Expedited Interrogatories.

10   3.      This document was transmitted via electronic mail to the addresses below, pursuant to the

11   agreement between the parties, and the electronic mail transmission was reported as complete and

12   without error.
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     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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24
            I declare under penalty of perjury that the foregoing is true and correct. Executed this 5th
25
     day of June, 2017, at San Francisco, CA.
26
                                                          /s/ Rachel M. Walsh
27                                                               Rachel M. Walsh
                                                          Attorneys for OTTO TRUCKING LLC
28
                                       11
     DEFENDANT OTTO TRUCKING LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
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